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                UNITED STATES COURT OF INTERNATIONAL TRADE


                                                             )
CARBON ACTIVATED TIANJIN CO., LTD. &                         )
CARBON ACTIVATED CORPORATION,                                )
                                                             )
                              Plaintiffs,                    )
                                                             )
        v.                                                   )         Court No. 24-00265
                                                             )
UNITED STATES,                                               )
                                                             )
                              Defendant.                     )
                                                             )
                                                             )


                                            COMPLAINT

       Plaintiffs Carbon Activated Tianjin Co., Ltd. & Carbon Activated Corporation

(collectively, “Carbon Activated”), by and through their attorneys, allege and state as follows:

               ADMINISTRATIVE DETERMINATION TO BE REVIEWED

       1.      Plaintiffs bring this Complaint to contest the final results of the U.S. Department

of Commerce’s (“Commerce”) sixteenth administrative review of the antidumping duty order on

certain activated carbon from the People’s Republic of China (“China”), covering the period of

April 1, 2022, through March 31, 2023. See Certain Activated Carbon From the People’s

Republic of China: Final Results of Antidumping Duty Administrative Review; 2022-2023, 89

Fed. Reg. 92,893 (Dep’t Commerce Nov. 25, 2024) (“Final Results”), and accompanying Issues

and Decision Memorandum (“IDM”); Certain Activated Carbon From the People’s Republic of

China: Amended Final Results of Antidumping Duty Administrative Review; 2022–2023, 89 Fed.

Reg. 104,978 (Dep’t Commerce Dec. 26, 2024) (“Amended Final Results”).

       2.      The Final Results were published in the Federal Register on November 25,

2024. Certain Activated Carbon From the People’s Republic of China: Final Results of
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Antidumping Duty Administrative Review; 2022-2023, 89 Fed. Reg. 92,893 (Dep’t Commerce

Nov. 25, 2024). The Amended Final Results were published in the Federal Register on

December 26, 2024. Certain Activated Carbon From the People’s Republic of China: Amended

Final Results of Antidumping Duty Administrative Review; 2022–2023, 89 Fed. Reg. 104,978

(Dep’t Commerce Dec. 26, 2024).

                                          JURISDICTION

       3.        The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c), as this

action was commenced under sections 516A(a)(2)(A)(i)(I) and (a)(2)(B)(iii) of the Tariff Act of

1930, as amended. 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I), (a)(2)(B)(iii).

                                            STANDING

       4.        Carbon Activated Tianjin Co., Ltd. is a Chinese producer of subject

merchandise, and Carbon Activated Corporation is a U.S. importer of subject merchandise.

Therefore, they are interested parties within the meaning of 19 U.S.C. § 1516a(f)(3) and 19

U.S.C. § 1677(9)(A). Carbon Activated participated as parties in the U.S. Department of

Commerce’s sixteenth administrative review of the antidumping duty order on certain activated

carbon from the People’s Republic of China, and accordingly they have standing to commence

this action pursuant to 19 U.S.C. § 1516a(d) and 28 U.S.C. § 2631(c).

                                   TIMELINESS OF ACTION

       5.        Plaintiffs commenced this action by filing a summons on December 26, 2024, on

the next business day following 30 days after publication of the Final Results in the Federal

Register. Plaintiff is filing this Complaint within 30 days after filing the Summons.

Accordingly, this action is timely filed pursuant to 19 U.S.C. § 1516a(a)(2)(A) and Rule 3(a)(2)

of this Court.




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                 HISTORY OF THE ADMINISTRATIVE PROCEEDING

       1.      On April 4, 2023, Commerce published a notice of opportunity to request

administrative review of the antidumping duty order on certain activated carbon from China (the

“Order”). Antidumping or Countervailing Duty Order, Finding, or Suspended Investigation;

Opportunity to Request Admin. Rev. & Join Annual Inquiry Service List, 88 Fed. Reg. 19,916

(Dep’t Commerce April 4, 2023).

       2.      On April 26, 2023, Plaintiffs submitted a timely request to Commerce to conduct

an administrative review with respect to Carbon Activated Tianjin Co., Ltd. (“Carbon Activated

Tianjin”). Letter from Neville Peterson to Sec’y of Commerce, re: Request for Antidumping

Administrative Review (Apr. 26, 2023). On June 12, 2023, Commerce published a notice

initiating an administrative review of the Order for Carbon Activated Tianjin and 19 other

companies. Initiation of Antidumping and Countervailing Duty Administrative Reviews, 88 Fed.

Reg. 38,021 (Dep’t Commerce June 12, 2023). The period of review (“POR”) was April 1,

2022, through March 31, 2023. See id. On July 11, 2023, Carbona Activated Tianjin submitted

a separate rate certification. Letter from Neville Peterson to Sec’y of Commerce, re: Separate

Rate Certification for Carbon Activated Tianjin Co., Ltd. in the Sixteenth Administrative Review

of the Antidumping Order on Certain Activated (July 11, 2023).

       3.      Commerce selected Jilin Bright Future Chemicals Co., Ltd. (“Jilin Bright”) and

Ningxia Guanghua Cherishmet Activated Carbon Co., Ltd. (“GHC”) as the two mandatory

respondents. See Certain Activated Carbon From the People’s Republic of China: Preliminary

Results of Antidumping Duty Administrative Review; 2022– 2023, 89 Fed. Reg. 35,797 (Dep’t

Commerce May 2, 2024) (“Preliminary Results”), and accompanying Decision Memorandum




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(“PDM”) at 1. Jilin Bright and GHC submitted responses to the initial and supplemental

questionnaires between August 2023 and March 2024. See id. at 3.

       4.      Commerce placed a list of potential surrogate countries for China on the record on

November 7, 2023. Id. at 3. The list included Romania and Malaysia. Jilin Bright and GHC

submitted comments on surrogate country selection and surrogate value information on

November 21, 2023. Id. at 3-4. The respondents argued that Commerce should select Romania

as the primary surrogate country because it is a significant producer of comparable merchandise

and has superior and more reliable data as compared to Malaysia. The respondents and

petitioners submitted initial surrogate value information on December 20, 2023, and additional

surrogate value information in March 2024. Id. at 4.

       5.      Commerce issued the Preliminary Results on April 26, 2024. See PDM.

Commerce preliminarily selected Malaysia as the primary surrogate country and used surrogate

value information from Malaysia to value most factors of production (“FOP”), including coal tar

and sub-bituminous coal, and used surrogate value information from Turkey for labor. Id. at 9-

14. Commerce preliminarily calculated a dumping margin of $2.01 per kilogram for Jilin Bright

and $1.17 per kilogram for GHC. Preliminary Results.

       6.      Jilin Bright and GHC filed case briefs contesting, among other issues,

Commerce’s preliminary selection of Malaysia as the primary surrogate country and selection of

surrogate value information for coal tar, sub-bituminous coal, hydrochloric acid, solid sodium

hydroxide, and potassium hydroxide. Petitioners also filed a case brief arguing, among other

issues, that Commerce should revise GHC’s FOP database to account for activated carbon

purchased by its supplier.




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        7.      Commerce published the Final Results in the Federal Register on November 25,

2024. 89 Fed. Reg. 92,893. In the Final Results, Commerce rejected the respondents’

arguments that it should select Romania instead of Malaysia as the primary surrogate country.

Commerce found that only Malaysia was a net exporter of activated carbon during the POR, and

therefore only Malaysia satisfied the criterion of being a significant producer of comparable

merchandise. IDM at 8. Commerce rejected the respondents’ arguments that Romania is also a

significant producer of comparable merchandise. IDM at 8-11. Commerce also rejected the

respondents’ arguments that the Malaysia surrogate values for coal tar, sub-bituminous coal,

hydrochloric acid, solid sodium hydroxide, and potassium hydroxide are aberrational. IDM at 7-

20.

        8.      Commerce also revised the FOP database for GHC to use a surrogate value for

activated carbon to value consumption of certain FOPs. IDM at 39. Commerce did so based on

findings that GHC failed to establish that its supplier used certain FOPs in the production of

subject merchandise that was not self-produced and failed to provide a copy of its supplier

agreement. IDM at 38-39.

        9.      On December 26, 2024, Commerce issued the Amended Final Results. 89 Fed.

Reg. 104,978. In the Amended Final Results, Commerce exercised its discretionary authority to

correct a ministerial error in the calculations for GHC – because Commerce had made an

inadvertent clerical error in using the wrong surrogate value for bituminous coal – but Commerce

did not correct this error in the calculations for Jilin.

        10.     This appeal followed.

                                    STATEMENT OF CLAIMS

                                              Count One




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       11.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.

       12.     Commerce’s decision to select Malaysia as the primary surrogate country is

unsupported by substantial evidence and otherwise not in accordance with law. Commerce’s

finding that only Malaysia qualified as a significant producer of comparable merchandise

because it was the only net exporter is contrary to law. Commerce also unlawfully disregarded

arguments and evidence showing that Malaysian surrogate values are aberrational, and therefore

failed to follow its own policy of taking into account data quality as a critical factor in surrogate

country selection.

                                            Count Two

       13.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.

       14.     Commerce’s decision to use the Malaysian surrogate value for coal tar is

unsupported by substantial evidence and otherwise not in accordance with law. Commerce

failed to address respondents’ arguments and unlawfully disregarded evidence that the Malaysia

surrogate value for coal tar is aberrational based on historical data and does not reflect a broad

market average because it is based on a low volume of imports.

                                            Count Three

       15.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.

       16.     Commerce’s finding that the Malaysia surrogate value was the best available data

to value sub-bituminous coal is unsupported by substantial evidence and otherwise not in

accordance with law. Commerce unlawfully disregarded evidence that the Malaysia surrogate

value for sub-bituminous coal is aberrational based on historical data. Commerce also failed to

address arguments that Malaysia import prices for sub-bituminous coal fluctuated aberrationally

during the POR.




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                                           Count Four

       17.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.

       18.     Commerce’s decision to use the Malaysian surrogate value for hydrochloric acid

is unsupported by substantial evidence and otherwise not in accordance with law. Commerce

unlawfully disregarded evidence that the Malaysia surrogate value for hydrochloric acid is

aberrational based on historical data and does not reflect a broad market average because it is

based on a low volume of imports.

                                           Count Five

       19.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.

       20.     Commerce’s decision to use the Malaysian surrogate value for solid sodium

hydroxide is unsupported by substantial evidence and otherwise not in accordance with law.

Commerce unlawfully disregarded evidence that the Malaysia surrogate value for solid sodium

hydroxide is aberrational based on historical data and does not reflect a broad market average

because it is based on a low volume of imports.

                                            Count Six

       21.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.

       22.     Commerce’s decision to use the Malaysian surrogate value for potassium

hydroxide is unsupported by substantial evidence and otherwise not in accordance with law.

Commerce unlawfully disregarded evidence that the Malaysia surrogate value for potassium

hydroxide is aberrational based on historical data and does not reflect a broad market average

because it is based on a low volume of imports.

                                          Count Seven

       23.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.




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       24.     Commerce’s decision to revise the FOP database for GHC to use a surrogate

value for activated carbon to value certain FOPs is unsupported by substantial evidence and

otherwise not in accordance with law. Commerce unlawfully disregarded evidence that GHC’s

unaffiliated supplier only used coal to produce the activated carbon sold to GHC, not the

purchased activated materials.

                                           Count Eight

       25.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 10.

       26.     Commerce’s decision to exercise its discretionary authority to correct an

inadvertent clerical error with respect to the Malaysia surrogate value for bituminous coal in the

calculations for GHC but not for Jilin is unsupported by substantial evidence and otherwise not

in accordance with law.

                          REQUEST FOR JUDGMENT AND RELIEF

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that the Court:

       1)      Hold that certain aspects of Commerce’s Final Results and Amended Final

Results are not supported by substantial evidence and otherwise not in accordance with law;

       2)      Remand to Commerce for disposition in accordance with the Court’s final

opinion; and

       3)      Grant such other relief as the Court may deem just and proper.




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                                          Respectfully submitted,

                                          /s/ Stephanie E. Hartmann
                                          David J. Ross
                                          Jeffrey I. Kessler
                                          Stephanie E. Hartmann

                                          WILMER CUTLER PICKERING
                                            HALE and DORR LLP
                                          2100 Pennsylvania Avenue NW
                                          Washington, DC 20037
                                          (202) 663-6564
                                          stephanie.hartmann@wilmerhale.com

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